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                     IN THE UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF ARKANSAS
                               LITTLE ROCK DIVISION

IN RE:         PATRICIA WALKER, Debtor                                              4:13-bk-12806E
                                                                                      CHAPTER 7

                                              ORDER

       Now before the Court is a Motion to Amend Schedule F to Add Unsecured Nonpriority

Claims for the purpose of each creditor being treated as those creditors listed on her original

Schedule F and for all other proper relief. The Court notes that the debtors received a discharge on

February 19, 2014, and as a consequence, it is not possible to discharge the omitted debts simply by

adding the creditors’ names and/or filing Amended Schedule F. See 11 U.S.C. § 523(a)(3). See also

In re Crull, 101 B.R. 60 (Bankr. W.D. Ark. 1989); In re Anderson, 72 B.R. 495, 496 (Bankr. D.

Minn. 1987). Rather, a complaint to determine dischargeability pursuant to Federal Rule of

Bankruptcy Procedure 4007 must be filed to determine whether a particular debt is included in the

scope of the discharge or excepted from discharge by section 523(a). It is hereby

       ORDERED that the Motion to Amend schedule F to Add Unsecured Nonpriority Claims is

DENIED and the debtor shall have thirty (30) days from entry of this Order to file an adversary

proceeding for each creditor to determine dischargeability of the omitted debt(s), or the case will be

closed without further notice or hearing.

       IT IS SO ORDERED.



                                                       06/05/2014




    CC: Attorney for Debtor(s)
        Debtor(s)
        Trustee




                                  Entered On Docket: 06/05/2014
